Case 1:12-CV-02002-W.]I\/|-CBS Document 29 Filed 09/06/13 USDC Colorado Page 1 Of 2

fN THE UN_[TED STATES ])ISTR_ICT C()URT
FOR TH`E DISTRICT ()F COLORAD()

Civil Action NO.: ]:lZ~CV~{)Q()OZ-WJM-CBS

STEVE N. BURTON

Plaintiff,
v.

UNYI`EI) STATES OF AMERICA, CHARLES SCHOEPHOERSTER, P.A.,
K`EITH BAKER, M.D., and CALVXN POLLAND, D.O.

Defendants

 

NOTICE OF APPEAL

 

Notice is hereby given that Steve N. Burton, Piaintiff in the above-named
case, hereby appeals to the United States Court cf Appeals for the Tenth Circuit
from the Order Granting Der`eudant’$ Motion to Dismiss for Lack Or`JuriSdiction
(Document #23) and Pina} Judgmenr (Document # 28) entered in this action on

July 8, 2913.

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Respectfuliy Subinitted this 6th day of September, 2013.

SCHOENV\’ALD & Tl-IOMPSON LLC

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al undersigned ’ 3 ij“z`ces

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CERT[FICATE OF SERVICE (CM/ECF)

l hereby certify that on September 6, 2013, I electronicalfy filed the
foregoing With the Clerk of Court using the ECF System Which Wili Se_nd
notification of Such filing to the fo§iowing e-mail_ addresses:

Maik Pesta}@osdoj. gov

and l hereby certify that l have mailed or Served the document or paper to the
t`ol}owirig non CM/ECF paiticipant($) in the manner (mail, hand dclivery, etc.)
indicated by the nonpaiticipant'$ ziame:

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